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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

MCKINNEY/PEARL RESTAURANT          §
PARTNERS, L.P.,                    §
                                   §
     Plaintiff,                    §
v.                                 §             No. 3:14-cv-02498-B
                                   §
METROPOLITAN LIFE INSURANCE        §
COMPANY, CBRE, INC., and MCPP      §
2100 MCKINNEY, LLC,                §
                                   §
     Defendants.                   §

       DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF
      DAVID CANNON AND DAVID FINCANNON AND BRIEF IN SUPPORT




                             Joel W. Reese
                             Tyler J. Bexley
                             Katie Galaviz
                             REESE GORDON MARKETOS LLP
                             750 N. St. Paul Street, Suite 610
                             Dallas, Texas 75201
                             (214) 382-9810

                             ATTORNEYS FOR DEFENDANTS
                             METROPOLITAN LIFE INSURANCE COMPANY,
                             CBRE, INC. AND MCPP 2100 MCKINNEY, LLC
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       Defendants Metropolitan Life Insurance Company (“MetLife”), CBRE, Inc. (“CBRE”),

and MCPP 2100 McKinney, LLC (“MCPP”) (together, “Defendants”) file this Motion to

Exclude the Expert Testimony of Plaintiff McKinney/Pearl Restaurant Partners, L.P.’s

(“Sambuca”) proffered experts David Cannon and David Fincannon.

                                     INTRODUCTION

       Sambuca and MCPP are parties to a lease for the restaurant building located at the

southwest corner of McKinney Avenue and Pearl Street in the Uptown Area of Dallas, Texas.

Sambuca contends that MCPP and MetLife (MCPP’s predecessor-in-interest) breached the lease

by failing to maintain the structural system of the restaurant building in good condition and

repair. Sambuca also contends that MetLife and MCPP hindered Sambuca’s occupation and

enjoyment of the restaurant building in violation of the express warranty of quiet enjoyment

contained in the lease.

       To support its claims, Sambuca designated David Cannon as an expert witness to testify

that certain elements of the premises do not comply with the design standards promulgated under

the Americans with Disabilities Act (“ADA”) and its Texas equivalent. Cannon’s opinions

should be excluded because they constitute improper legal conclusions—an expert witness is not

allowed to testify that a specific law applies or that a party failed to comply with the law.

Cannon’s opinions should also be excluded because they are not relevant to the parties’ claims

and defenses.

       Sambuca designated David Fincannon to testify that the building’s alleged structural

deficiencies will continue to promote pest “problems” unless the foundation is replaced.

Fincannon’s opinions should be stricken for three reasons. First, Fincannon is not qualified to

give opinions regarding the integrity of the Restaurant Building’s structural system. Second,


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Fincannon’s opinions are speculative and not helpful to the jury. And third, Fincannon’s

opinions are not relevant to any issue in this case.

                                            BACKGROUND

I.       Factual Background Relating to this Motion

         The factual background of this dispute is set forth in Defendants’ recently filed

Consolidated Statement of Facts in Support of their Motions for Summary Judgment [Dkt.

#202], which Defendants incorporate by reference. Defendants also provide the following brief

summary of facts, which are particularly pertinent to this Motion.1

         A.     The Lease Agreement.

         Sambuca accepted the Premises in its “AS IS, WHERE IS” condition and “WITH ALL

FAULTS.”2 Accordingly, the Lease places most of the responsibility for repairing and

maintaining the Premises on Sambuca. The Lease provides that the landlord “shall not be

required to make any repairs to the Premises or to Tenant’s improvements or Tenant’s Property”

and that Sambuca “shall be responsible, at its sole cost and expense for keeping and maintaining

the Premises including, without limitation, utility systems, within the Premises, and Tenant’s

Property in a good, clean, safe and sanitary condition and making any necessary or required

repairs thereto.”3 Sambuca also agreed to bear the risk of complying with the ADA and is

responsible for ensuring the Restaurant Building is accessible for customers with disabilities.4




1
  “App.” refers to the Appendix in Support of Defendants’ Motions for Summary Judgment [Dkt. ##200, 201, 203,
204, 205, 209]. “Cannon/Fincannon App.” refers to the Appendix in Support of Defendants’ Motion to Exclude
Expert Testimony of David Cannon and David Fincannon, which is filed contemporaneously with this Motion. For
consistency, Defendants use the same defined terms as used in the Motions for Summary Judgment.
2
  App. 1853 (Lease at § 6).
3
  App. 1854 (Lease at § 7(a)).
4
  App. 1855 (Lease at § 7(a)).

                                                     2
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Last, Sambuca, at its sole cost and expense, is responsible for obtaining and maintaining pest

control services to regularly exterminate the Premises for all pests, insects, and other vermin.5

        The landlord, on the other hand, is responsible for keeping and maintaining “in good

condition and repair: “(A) the roof and structural system of the Restaurant Building, (B) the

primary water and sewer systems serving the Premises up to, but not into, the Premises, and (C)

the outdoor common areas of the Project (inclusive of parking areas and landscaping)” (the

“Landlord Repair Provision”).6

        B.       The Dispute.

        Since June 2009, MetLife has spent hundreds of thousands of dollars and MetLife and

CBRE, its property manager, have expended hundreds of man-hours performing investigations,

tests, and repairs in order to identify the cause of foundation and plumbing issues about which

Sambuca complains.7 To this day, there is no clear answer. Nevertheless, MetLife believes that

the repairs that it has made—including the replacement of the subsurface main drain lines—have

alleviated the problems and satisfied MetLife’s obligations under the lease. Sambuca, on the

other hand, believes that MetLife should replace the entire slab and rebuild the interior of the

Restaurant Building.8

        C.       Sambuca’s Claims and Allegations in this Action.

        On October 7, 2013, Sambuca filed this action against MetLife in the 191st Judicial

District Court of Dallas County, Texas asserting claims for breach of contract and anticipatory



5
  App. 1880 (Lease at § 24(n)).
6
  App. 1855 (Lease at § 7(b)).
7
  See generally Dkt. 202, Defs.’ Consolidated Statement of Facts, §§ I-W.
8
  App. 0023 (Bailey Dep. at 48:6-49:18). Lee wrote a letter to Sambuca’s lawyer, Wesley Bailey, shortly after this
dispute arose, setting forth Sambuca’s position that the entire slab should be removed and replaced. App. 0043;
App. 0023 (Bailey Dep. at 48:7-22). Two year later, Lee would make the same conclusion in his expert report, i.e.,
that Sambuca should get a brand new restaurant interior. App. 1401 (Lee Dep. at 13:19-14:22); App. 1444.

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breach of contract.9 Sambuca complained that, “[s]ince shortly after the inception of the Lease,

the Leased Premises have been plagued by problems”10 and that MetLife had breached the

Landlord Repair Provision.11

         Sambuca claims that the movement of the structural system has caused “defective

conditions,” including, “inoperable doors, uneven floors, cracks in both interior and exterior

walls, cracks in floors, sagging ceiling tiles, damaged air conditioning ducts, separation of walls

from the floor, sewage odors, reoccurring large gap under an exterior door to the kitchen,

cracking and breaking plumbing pipes, persistent movement and elevation changes in the floor,

hanging interior door frames, falling wall tiles, gaps along the exterior of the building, and

elevation changes in the parking lot.”12 Sambuca further claims that Defendants’ alleged failure

to corrected the continued structural movement and repair the defective conditions has “directly

damaged and continued to damage Sambuca’s business, its reputation, and the overall Sambuca

brand.”13

         With respect to accessibility specifically, Sambuca’s live pleading states that after the

main drain line replacement, “the differential elevation in the slab had become so drastic that it

was impairing accessibility.”14 With respect to pest activity, Sambuca’s sole allegation is that

sometime after the main drain line replacement, “there was now a large crack under an exterior




9
  App. 0804.
10
   App. 0806.
11
   App. 0812.
12
   Cannon/Fincannon App. 004 (Pl.’s 1st Supp. Obj. and Ans. To MetLife’s 1st Set of Interrogatories, No. 2).
13
   Cannon/Fincannon App. 007 (Pl.’s 1st Supp. Obj. and Ans. To MetLife’s 1st Set of Interrogatories, No. 7); 4th
Am. Compl. ¶ 38.
14
   Pl.’s 4th Am. Compl. ¶ 27.
                                                       4
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door to the kitchen through which rodents and insects could enter the building. This created

potential Health and Safety Code violations, requiring constant repairs.”15

II.      David Cannon’s Opinions

         Sambuca hired David Cannon to “evaluate TAS accessibility compliance of the public

area flooring and handicap parking spaces; and opine on building code conformance for the exits

at the Sambuca restaurant.”16 Cannon is a forensic architect.17 Cannon provided six primary

opinions:

      1. The Restaurant Building must be in compliance with the design standards contained in
         the 1991 Americans with Disabilities Act Accessibility Guidelines (“1991 ADAAG”) and
         the 1994 Texas Accessibility Standards (the “1994 TAS”).18

      2. In order to be in legal conformance with the 1994 TAS and the 1991 ADAAG, all of the
         Restaurant Building’s floor surfaces must have less than a 2% slope at all times.19

      3. At five locations along the bars, at four locations near the seating niches, at one location
         on the dance floor, and at one location in the hallway to the restroom, the measured cross-
         slope of the Restaurant Building’s floor was greater than 2% and, therefore, the floor in
         those areas does not comply with the 1991 ADAAG and the 1994 TAS.20

      4. In the parking lot on the Premises, at one location within the passenger loading zone and
         two locations within the north accessible parking space the measured cross-slope was
         greater than 2% and, therefore, those areas do not comply with the 1991 ADAAG and the
         1994 TAS.21

      5. At the expansion joint between the sidewalk and passenger loading zone for the
         accessible parking spaces, a change in level greater than 1/2” was measured and,
         therefore, this location does not comply with the 1991 ADAAG and the 1994 TAS.22




15
   Id. (emphasis added); see also Cannon/Fincannon App. 015 (K. Forsythe Dep. at 143:21-145:19).
16
   Cannon/Fincannon App. 023.
17
   Cannon/Fincannon App. 045 (Cannon Dep. at 5:23-6:24).
18
   Cannon/Fincannon App. 034.
19
   Cannon/Fincannon App. 037.
20
   Cannon/Fincannon App. 026-31; 035
21
   Cannon/Fincannon App. 031-32; 036.
22
   Cannon/Fincannon App. 032; 036.

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       6. The exterior of the kitchen exit door on the east side of the Restaurant Building is missing
          a solid landing and, therefore, is in violation of the 1991 Uniform Building Code (“1991
          UBC”) and the 1997 Uniform Building Code (“1997 UBC”).

III.      David Fincannon’s Opinions

          Sambuca identified David Fincannon as an expert witness to testify regarding “pest

related issues in relationship to the structure’s movement.”23 Fincannon provides two primary

opinions: (1) Sambuca has taken appropriate action in its efforts to address pest and rodent

related infestations; and (2) the Restaurant Building’s structural deficiencies will continue to

promote pest problems unless the foundation is replaced.24 In his rebuttal report, issued 5 months

after his initial report, Fincannon admitted that repairs had been made to correct the structural

deficiencies he had originally identified as creating pest conducive conditions at the Restaurant

Building.25 Fincannon did not, however, prepare an opinion regarding the impact of the repairs

on the level of pest activity observed at the Restaurant Building.26

                                             ARGUMENT

          The testimony of David Cannon and David Fincannon is inadmissible under Federal

Rules of Evidence 104(a), 401, 402, 702, and 703. Their opinions (in report and testimonial

form) are neither relevant nor reliable. Defendants therefore request that the Court exclude their

opinions from trial.

I.         The Court Should Exclude David Cannon’s Proffered Opinions.

          David Cannon’s opinions should be excluded because they constitute improper legal

conclusions—an expert witness is not allowed to testify that a specific law applies or that a party


23
   Cannon/Fincannon App. 073.
24
   Id.
25
   Cannon/Fincannon App. 109.
26
   Cannon/Fincannon App. 130 (Fincannon Dep. at 79:21-25); Cannon/Fincannon App. 131 (Fincannon Dep. at
Dep. 80:12-15).


                                                   6
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failed to comply with the law. Cannon’s opinions should also be excluded because they are

unreliable and are not relevant to the parties’ claims and defenses.

       A.      Cannon’s opinions regarding the construction and effect of the ADAAG and
               the TAS are inadmissible conclusions of law.

       Cannon’s opinions that the Restaurant Building must remain in compliance with the 1991

ADAAG and the 1994 TAS and that all of the Restaurant Building’s flooring must have less than

a 2% slope at all times are inadmissible conclusions of law.

       Experts cannot assert what law governs an issue or what the applicable law means.

Askanase v. Fatjo, 130 F.3d 657, 673 (5th Cir. 1997) (“Our legal system reserves to the trial

judge the role of deciding the law for the benefit of the jury.). This is because the construction

and legal effect of a statute or regulation are both questions of law. See, e.g., Robinson v. EMC

Mort. Co., No. 3:10-cv-2140-L, 2013 WL 1245863, at *7 (N.D. Tex. Mar. 26, 2013) (holding

that experts’ statements as to what the FCRA required exceeded the boundaries of permissible

expert testimony). Questions of law are for the court to decide. Id. Expert opinions that render

conclusions of law are not helpful to the jury and are inadmissible. See Snap-Drape, Inc. v.

Comm’r of Internal Revenue, 98 F.3d 194, 198 (5th Cir. 1996) (Rule 704 “does not allow an

expert to render conclusions of law.”); see also Goodman v. Harris Cnty., 571 F.3d 388, 399 (5th

Cir. 2009) (“an expert may never render conclusions of law”).

       Cannon’s interpretation of the 1991 ADAAG and the 1994 TAS and his opinion as to the

legal effect of those standards is nothing more than a legal conclusion. In rendering these

opinions, Cannon is improperly opining on questions of law that fall within this Court’s

exclusive province.




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           B.      Cannon’s opinion the certain locations on the Premises violate the 1991
                   ADAAG, the 1994 TAS, or the Dallas Building Code is also a legal
                   conclusion.

           Cannon’s opinions should be excluded because they consist solely of legal conclusions

regarding the Restaurant Building’s compliance with the TAS, the ADA, or the Dallas Building

Code. For example, Cannon opines, “[d]ue to cracking and movement in the foundation, the

flooring along both bars, at both seating niches, at the dance floor, and in the hallway to the

restrooms is in violation of the 1994 TAS and the 1991 ADAAG, and needs to be remediated to

enable legal accessibility for customers with disabilities.”27

           “Allowing an expert to give his opinion on the legal conclusions to be drawn from the

evidence both invades the court’s province and is irrelevant.” Owen v. Kerr-McGee Corp., 698

F.2d 236, 240 (5th Cir. 1983). The Federal Rules do not permit expert witnesses to offer legal

conclusions regarding whether or not a party complied with the accessibility standards. See Sapp

v. MHI Partnership, Ltd., 199 F.Supp.2d 578, 588 (N.D. Tex. 2002) (Lynn, J.) (excluding

expert’s opinions regarding facility’s compliance with the TAS); see also Burkhart v.

Washington Metro. Area Transit Auth., 112 F.3d 1207, 1212-13 (D.C. Cir. 1997) (“an expert

may offer his opinion as to facts that, if found, would support a conclusion that the legal standard

at issue was satisfied, but he may not testify as to whether the legal standard has been

satisfied.”); Green v. CBS Broadcasting, Inc., No. 3:98-cv-2740-T, 2000 WL 33242748, at 4

(N.D. Tex. Dec. 19, 2000) (opinion that defendants’ conduct was negligent and malicious was

inadmissible). Cannon’s opinion that specific locations on the Premises violate the TAS, the

ADAAG, or the Dallas Building Code is an inadmissible legal conclusion and should be

excluded.



27
     Cannon/Fincannon App. 038 (emphasis added).

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        C.       Cannon’s opinion that all areas of the Restaurant Building’s floor must
                 maintain compliance with the 2% slope standard in the 1994 TAS is
                 speculative and unreliable.

        Cannon’s assertion that the entire floor of the Restaurant Building must be maintained at

a slope no greater than 2% is not an expert opinion that derives from any analysis or specialized

knowledge. Instead, it is unsubstantiated speculation. Cannon concedes that the language of the

statute does not support his interpretation—there is no provision in the 1994 TAS requiring a

building owner to maintain compliance with the 1994 TAS design standards after a building has

been constructed or a remodeled.28 Cannon also admitted that his interpretation of the 1994 TAS

was not based on his experience. He testified that he has never encountered a situation where a

building was found to be out of compliance with the TAS because of post-construction changes

in the level of the floor.29 In fact, Cannon even testified that the opposite is true—building

owners are not expected to know the standards and maintain their buildings within the

standards.30 Cannon’s opinion its not supported by any facts or theory. It is his personal opinion

and, as such, it is not helpful to the jury and should be excluded.

        D.       Cannon’s opinions are not relevant to the claims and defenses in this action.

        Expert witnesses must testify on issues that are relevant to the case and, which, in turn,

help the trier-of-fact to resolve a fact issue. FED. R. EVID. 702. Evidence is relevant if “it has any

tendency to make any fact that is of consequence to the determination of the action more

probable or less probable than it would be without the evidence.” Wellogix, Inc. v. Accenture,



28
   Cannon/Fincannon App. 058 (Cannon Dep. 57:17-19). The parties agree that the 1994 TAS applied during the
construction and remodel of the Restaurant Building and that the Texas Department of Licensing and Registration
certified the Restaurant Building as being compliant at both of those times. Id. (Cannon Dep. 59:10-20).
29
   Id. (Cannon Dep. at 56:3-10).
30
   Id. (Cannon Dep. 57:20-25) (“…typically, you know, a restaurant owner would not be expected to know all of the
building codes…and be expected to maintain that the building stays within building codes at all times. I mean, that’s
not their expertise.”).

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L.L.P., 716 F.3d 867, 882 (5th Cir. 2013) (quoting FED. R. EVID. 401(a)). On the other hand,

“expert testimony which does not relate to any issue in the case is not relevant and, ergo, non-

helpful.” Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 593, 112 S.Ct. 2786, 125

L.Ed.2d 469 (1993).

        Cannon’s opinions do not make any fact that is of consequence to the determination of

this action more or less probable. Sambuca has not been harmed by the Restaurant Building’s

alleged noncompliance with the 1991 ADAAG, the 1994 TAS, or the Dallas Building Code.

There have been no customer complaints about the slope of the floor.31 There have been no

reports of injuries resulting from the slope of the floor.32 Sambuca has not been cited or sued by

the governmental bodies responsible for enforcing the 1991 ADAAG, the 1994 TAS, or the

Dallas Building Code.33 Cannon’s opinions are not relevant and should be excluded.

II.     The Court Should Exclude David Fincannon’s Proffered Opinions.

        David Fincannon’s primary opinion is that the Restaurant Building’s structural

deficiencies will continue to promote rodent, cockroach, and fruit fly infestations. Fincannon

originally identified cracks in the floor, water flowing towards the walls instead of the drains,

damaged drain pipes, and gaps in the walls and around the doors as creating “pest conducive

conditions.”34 Fincannon alleges that these conditions could be repaired but the repairs would be




31
   Cannon/Fincannon App. 012 (K. Forsythe Dep. at 121:24-123:2).
32
   Cannon/Fincannon App. 013 (K. Forsythe Dep. at 135:8-11) (Q. You’re not aware today of any injuries that have
occurred on the leased premises due to the sloping slab and only the slope? A. No.).
33
   Cannon/Fincannon App. 017 (K. Forsythe Dep. at 185:11-13) (Q. Has Sambuca ever received any citation from a
government entity about the floor slab in the restaurant? A. No.).
34
   Cannon/Fincannon App. 102-03.

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“short lived.”35 Therefore, he concluded that to remedy these conditions, the walls would need to

be repaired and the foundation would need replacement “to function properly.”36

        Fincannon’s opinions should be stricken for three reasons. First, Fincannon is not

qualified to give opinions regarding the integrity of the Restaurant Building’s structural system.

Second, Fincannon’s opinions are speculative and not helpful to the jury. And third, Fincannon’s

opinions are not relevant to any issue in this case.

        A.       Fincannon is not qualified to provide an opinion regarding the future
                 condition of the Restaurant Building’s structure.

        Fincannon’s opinions that any repairs to the Restaurant Building would be short lived and

that the foundation needs to be replaced to “function properly” should be excluded because

Fincannon is not qualified to give such opinions. A witness testifying under Rule 702 must be

qualified as an expert by “knowledge, skill, experience, training, or education.” FED. R. EVID.

702. Fincannon is not a structural engineer.37 He has no experience in foundation repair and has

never recommended that a foundation be replaced to address pest-related issues.38 At his

deposition, Fincannon even acknowledged that he was not qualified to give an opinion regarding

the integrity of the building.39 Given the foregoing, Fincannon is not qualified to render an

opinion as to the future condition of the Restaurant Building.

        B.       Fincannon’s opinions regarding the future condition of the Restaurant
                 Building’s structure are speculative and unreliable.

        Fincannon’s opinion that the Restaurant Building will be conducive to pests in the future

is not helpful because it is primarily based on his personal observations regarding the state of the


35
   Cannon/Fincannon App. 102.
36
   Cannon/Fincannon App. 103.
37
   Cannon/Fincannon App. 128 (Fincannon Dep. at 70:3-11)
38
   Cannon/Fincannon App. 139 (Fincannon Dep. at 113:15-23).
39
   Cannon/Fincannon App. 111; 128 (Fincannon Dep. at 70:12-15) (Q. Would you agree that you’re not qualified to
give an opinion regarding the integrity of the building. A. That’s correct.).

                                                      11
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building. It is well established that to be admissible, an expert’s opinion must be reliable. To be

reliable, an opinion must constitute “more than just subjective belief or unsupported

speculation.” Nunn v. State Farm, No. 3:08-cv-1486-D, 2010 WL 2540754, at *10 (N.D. Tex.

June 22, 2010); see also Lofton v. McNeil Consumer & Specialty Pharm., No. 3:05-cv-1531-L,

2008 WL 4878066, at *6 (N.D. Tex. July 25, 2008) (excluding experts’ personal opinions

because they are unreliable).

        Fincannon’s opinions are based upon visual observations he made on three visits to the

Premises and his review of service reports prepared by EcoLab, the pest control company

retained by Sambuca.40 Fincannon did not rely upon the opinions of the engineering experts

retained by Sambuca.41 And, although Fincannon has extension experience in pest control, he did

not rely on any specialized knowledge in forming his opinions. Instead, Fincannon’s opinions are

simply guesses. For example, Fincannon alleges that water flowing towards the walls in the

kitchen creates a condition conducive to fruit flies.42 But, Fincannon did not observe water

flowing towards the walls, he did not observe any of the subsurface conditions that he asserts are

responsible for the flow of the water, and he had not reviewed any documents that support this

conclusion prior to issuing his report.43 Fincannon’s guesses and personal opinions are unreliable

and speculative. Therefore, they are not helpful to the jury and should be excluded.




40
   Cannon/Fincannon App. 118 (Fincannon Dep. at 25:14-20); 128 (Fincannon Dep. at 70:20-71:2).
41
   Cannon/Fincannon App. 134 (Fincannon Dep. at 95:15-19).
42
   See e.g., Cannon/Fincannon App. 102 (“there is no way water is flowing to a drain,” “water will be flowing into
the wrong areas when daily cleaning occurs,” and “when the main drain lines were repaired, the fill soil placed in
the area was loose”)
43
   Cannon/Fincannon App. 119-20 (Fincannon Dep. at 33:5-13, 34:21-35:5, 35:22-36:10); 127-128 (Fincannon Dep.
at 67:15-68:12); 136 (Fincannon Dep. at 101:13-103:21);

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        C.      The Court should exclude Fincannon’s opinions because they are not
                relevant.

        Fincannon is not providing an opinion on the reasonableness of the expenses Sambuca

incurred for pest control.44 In fact, Fincannon admitted that the frequency of treatments being

applied by Sambuca’s pest control service was typical for a restaurant.45 Fincannon is not

providing an opinion that there is a pest control problem at Sambuca. Fincannon testified that the

level of pest and rodent activity observed at the restaurant was typical for a commercial

restaurant kitchen.46 Furthermore, there have been no reports of insects or rodents entering the

Restaurant Building through the crack under the kitchen door that is mentioned in Sambuca’s

Complaint.47 There have been no reports of insects or rodents in the areas of the Restaurant

Building frequented by customers.48 Sambuca has not been cited for Health and Safety Code

violations.49 If anything, the evidence supports a finding that the movement of the foundation has

not had any impact on pest activity on the Premises. Moreover, at his deposition, Fincannon

essentially neutralized his opinions regarding future pest activity at the Restaurant Building.

Fincannon testified that even if the repairs he recommended were made, there would still be the

potential for pest infestations at Sambuca because “there’s always going to be a possibility of

pests in a restaurant.”50

        Fincannon’s opinions do not assist the trier-of-fact in understanding the evidence or

determining a fact issue in this case and, thus, his opinions should be excluded.



44
   Cannon/Fincannon App. 140 (Fincannon Dep. at 116:13-21).
45
   Cannon/Fincannon App. 145 (Fincannon Dep. at 136:22-137:10, 137:18-139:2).
46
   Cannon/Fincannon App. 132 (Fincannon Dep. at 84:7-85:10).
47
   Cannon/Fincannon App. 016 (K. Forsythe Dep. at 145:14-19).
48
   Id.
49
   Cannon/Fincannon App. 017 (K. Forsythe Dep. at 186:2-15).
50
   Cannon/Fincannon App. 141 (Fincannon Dep. at 120:15-21).

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                               CONCLUSION AND PRAYER

       For the reasons set forth in this Motion, Defendants respectfully request that the Court

grant the Motion, exclude the proffered testimony of Sambuca’s experts David Cannon and

David Fincannon, and grant Defendants such other and further relief to which they are entitled.

Dated July 13, 2016.                        Respectfully submitted,


                                            REESE GORDON MARKETOS LLP


                                            By:     s/ Katie Galaviz
                                                    Joel W. Reese
                                                    State Bar No. 00788258
                                                    joel.reese@rgmfirm.com
                                                    Tyler J. Bexley
                                                    State Bar No. 24073923
                                                    tyler.bexley@rgmfirm.com
                                                    Katie Galaviz
                                                    State Bar No. 24069620
                                                    katie.galaviz@rgmfirm.com

                                                    750 N. Saint Paul St., Suite 610
                                                    Dallas, Texas 75201-3202
                                                    214.382.9810 telephone
                                                    214.501.0731 facsimile

                                            ATTORNEYS FOR DEFENDANTS
                                            METROPOLITAN LIFE INSURANCE
                                            COMPANY, CBRE, INC., and MCPP 2100
                                            MCKINNEY, LLC


                            CERTIFICATE OF CONFERENCE

         I certify that on June 30, 2016 and July 8, 2016, Tyler Bexley, counsel for the
Defendants, conferred with Ryan DeLaune, counsel for Plaintiff, by telephone regarding the
relief requested in this Motion. Plaintiff is opposed to the requested relief.

                                            s/ Katie Galaviz
                                            KATIE GALAVIZ



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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that, on July 13, 2016, the foregoing document was submitted
to the clerk of the U.S. District Court, Northern District of Texas, using the electronic case filing
system (CM/ECF) of the court. I certify that the document was served on all known counsel of
record electronically as authorized by Federal Rule of Civil Procedure 5(b)(2).

                                              s/ Katie Galaviz
                                              KATIE GALAVIZ




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